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                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF LOUISIANA


LASHAWN JONES, ET AL.                                              CIVIL ACTION

VERSUS                                                                   No. 12-859

MARLIN GUSMAN, ET AL.                                                  SECTION I

                                       ORDER

         Pursuant to the Court’s September 24, 2018 order, 1 plaintiffs’ counsel has

requested a status conference. Accordingly,

         IT IS ORDERED that a status conference is set for OCTOBER 3, 2018 at

7:30 A.M. Counsel for the U.S. Department of Justice may participate by telephone.

         New Orleans, Louisiana, October 2, 2018.



                                        _______________________________________
                                                LANCE M. AFRICK
                                        UNITED STATES DISTRICT JUDGE




1   R. Doc. No. 1198.
